IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

LEONARD BELLAVIA,

Plaintiff,
Civil Action No.
v.
2:23-cv-02825-HG
PENNSYLVANIA HIGHER EDUCATION
ASSISTANCE AGENCY d/b/a
AMERICAN EDUCATION SERVICES,

Name! Sweet” Nemmee’ Seee” Swt’Seeree” “cme” egret! Snape” Sige Sage”

Defendant.

STIPULATION OF VOLUNTARY DISMISSAL

WHEREAS the parties have executed a settlement agreement,

IT IS HEREBY STIPULATED, AGREED, AND CONSENTED TO that this action is

dismissed with prejudice.

DATED: By:
Leonard A. Bellavia, Esq.
/ . '. Attorneys for Plaintiff
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DATED: By: A
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